                                                                                                                    Case:14-05033-swd          Doc #:21 Filed: 08/26/14          Page 1 of 19




                                                                                                          B6 Cover (Form 6 Cover) (12/07)



                                                                                                          FORM 6. SCHEDULES

                                                                                                          Summary of Schedules
                                                                                                          Statistical Summary of Certain Liabilities and Related Data (28 U.S.C. § 159)
                                                                                                          Schedule A - Real Property
                                                                                                          Schedule B - Personal Property
                                                                                                          Schedule C - Property Claimed as Exempt
                                                                                                          Schedule D - Creditors Holding Secured Claims
                                                                                                          Schedule E - Creditors Holding Unsecured Priority Claims
                                                                                                          Schedule F - Creditors Holding Unsecured Nonpriority Claims
                                                                                                          Schedule G - Executory Contracts and Unexpired Leases
                                                                                                          Schedule H - Codebtors
                                                                                                          Schedule I - Current Income of Individual Debtor(s)
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-815 - 32412-302Y-***** - PDF-XChange 3.0




                                                                                                          Schedule J - Current Expenditures of Individual Debtor(s)

                                                                                                          Unsworn Declaration under Penalty of Perjury


                                                                                                          GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any
                                                                                                          amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
                                                                                                          identified with the debtor’s name and case number. If the schedules are filed with the petition,
                                                                                                          the case number should be left blank

                                                                                                          Schedules D, E, and F have been designed for the listing of each claim only once. Even when a
                                                                                                          claim is secured only in part or entitled to priority only in part, it still should be listed only once.
                                                                                                          A claim which is secured in whole or it part should be listed on Schedule D only, and a claim
                                                                                                          which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list
                                                                                                          the same claim twice. If a creditor has more than one claim, such as claims arising from separate
                                                                                                          transactions, each claim should be scheduled separately.

                                                                                                          Review the specific instructions for each schedule before completing the schedule.
                                                                                                                                     Case:14-05033-swd
                                                                                                          B6A (Official Form 6A) (12/07)                                   Doc #:21 Filed: 08/26/14                                      Page 2 of 19

                                                                                                          In re    Pierson, Patsy J.                                                                     Case No. 14-05033-swd
                                                                                                                                     Debtor                                                                                (If known)

                                                                                                                                                          SCHEDULE A - REAL PROPERTY
                                                                                                             Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
                                                                                                          tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
                                                                                                          the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
                                                                                                          “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
                                                                                                          “Description and Location of Property.”

                                                                                                            Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                          Unexpired Leases.

                                                                                                              If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
                                                                                                          claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                                                             If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
                                                                                                          Property Claimed as Exempt.




                                                                                                                                                                                                                HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                  OR COMMUNITY
                                                                                                                                                                                                                                         CURRENT VALUE
                                                                                                                                                                                                                                           OF DEBTOR’S
                                                                                                                        DESCRIPTION AND LOCATION                              NATURE OF DEBTOR’S                                           INTEREST IN     AMOUNT OF
                                                                                                                               OF PROPERTY                                   INTEREST IN PROPERTY                                      PROPERTY, WITHOUT    SECURED
                                                                                                                                                                                                                                         DEDUCTING ANY       CLAIM
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-815 - 32412-302Y-***** - PDF-XChange 3.0




                                                                                                                                                                                                                                         SECURED CLAIM
                                                                                                                                                                                                                                          OR EXEMPTION



                                                                                                           Residence                                                     Tenancy by the Entirety                    J                          75,200.00      74,766.00
                                                                                                           980 - 20 Mile Rd. NE
                                                                                                           Cedar Springs, MI 49319




                                                                                                                                                                                                        Total
                                                                                                                                                                                                                                               75,200.00

                                                                                                                                                                                                        (Report also on Summary of Schedules.)
                                                                                                                                     Case:14-05033-swd
                                                                                                          B6B (Official Form 6B) (12/07)                                          Doc #:21 Filed: 08/26/14              Page 3 of 19

                                                                                                          In re     Pierson, Patsy J.                                                                        Case No. 14-05033-swd
                                                                                                                                            Debtor                                                                             (If known)

                                                                                                                                                             SCHEDULE B - PERSONAL PROPERTY
                                                                                                               Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
                                                                                                          place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
                                                                                                          identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
                                                                                                          community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
                                                                                                          individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                                                              Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                          Unexpired Leases.

                                                                                                                If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
                                                                                                          If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                          "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                            CURRENT VALUE OF




                                                                                                                                                                                                                                       OR COMMUNITY
                                                                                                                                                                                                                                                            DEBTOR’S INTEREST
                                                                                                                                                                   N                                                                                           IN PROPERTY,
                                                                                                                       TYPE OF PROPERTY                            O                 DESCRIPTION AND LOCATION                                                    WITHOUT
                                                                                                                                                                   N                       OF PROPERTY                                                       DEDUCTING ANY
                                                                                                                                                                   E                                                                                         SECURED CLAIM
                                                                                                                                                                                                                                                              OR EXEMPTION
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-815 - 32412-302Y-***** - PDF-XChange 3.0




                                                                                                            1. Cash on hand.                                           Cash                                                              W                             0.00
                                                                                                            2. Checking, savings or other financial accounts,          Chase Checking 5117                                                                           856.68
                                                                                                            certificates of deposit, or shares in banks, savings
                                                                                                            and loan, thrift, building and loan, and homestead         Bank of America checking 1978                                                                 130.00
                                                                                                            associations, or credit unions, brokerage houses,          Bank of America savings 5570                                                                   65.00
                                                                                                            or cooperatives.
                                                                                                                                                                       Chemical Bank savings 1073                                                                     67.07
                                                                                                            3. Security deposits with public utilities,            X
                                                                                                            telephone companies, landlords, and others.

                                                                                                            4. Household goods and furnishings, including              household goods                                                   W                         1,000.00
                                                                                                            audio, video, and computer equipment.

                                                                                                            5. Books. Pictures and other art objects,              X
                                                                                                            antiques, stamp, coin, record, tape, compact disc,
                                                                                                            and other collections or collectibles.

                                                                                                            6. Wearing apparel.                                        clothing                                                          W                           200.00
                                                                                                            7. Furs and jewelry.                                       watches, costume jewelry                                          W                           100.00
                                                                                                            8. Firearms and sports, photographic, and other        X
                                                                                                            hobby equipment.

                                                                                                            9. Interests in insurance policies. Name                   Metropolitan Life Term                                            W                             1.00
                                                                                                            insurance company of each policy and itemize
                                                                                                            surrender or refund value of each.

                                                                                                            10. Annuities. Itemize and name each issuer.           X
                                                                                                            11. Interests in an education IRA as defined in 26     X
                                                                                                            U.S.C. § 530(b)(1) or under a qualified State
                                                                                                            tuition plan as defined in 26 U.S.C. § 529(b)(1).
                                                                                                            Give particulars. (File separately the record(s) of
                                                                                                            any such interest(s). 11 U.S.C. § 521(c).)

                                                                                                            12. Interests in IRA, ERISA, Keogh, or other               American Funds Roth IRA 8345                                                                8,893.80
                                                                                                            pension or profit sharing plans. Give particulars.
                                                                                                                                                                       Lincoln Financial Group 403(B) plan                                                        40,593.56
                                                                                                                                     Case:14-05033-swd
                                                                                                          B6B (Official Form 6B) (12/07) -- Cont.                                 Doc #:21 Filed: 08/26/14               Page 4 of 19

                                                                                                          In re     Pierson, Patsy J.                                                                       Case No. 14-05033-swd
                                                                                                                                            Debtor                                                                            (If known)

                                                                                                                                                               SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                               (Continuation Sheet)




                                                                                                                                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                           CURRENT VALUE OF




                                                                                                                                                                                                                                      OR COMMUNITY
                                                                                                                                                                                                                                                           DEBTOR’S INTEREST
                                                                                                                                                                   N                                                                                          IN PROPERTY,
                                                                                                                      TYPE OF PROPERTY                             O                  DESCRIPTION AND LOCATION                                                  WITHOUT
                                                                                                                                                                   N                        OF PROPERTY                                                     DEDUCTING ANY
                                                                                                                                                                   E                                                                                        SECURED CLAIM
                                                                                                                                                                                                                                                             OR EXEMPTION


                                                                                                            13. Stock and interests in incorporated and            X
                                                                                                            unincorporated businesses. Itemize.

                                                                                                            14. Interests in partnerships or joint ventures.       X
                                                                                                            Itemize.

                                                                                                            15. Government and corporate bonds and other           X
                                                                                                            negotiable and non-negotiable instruments.

                                                                                                            16. Accounts receivable.                                   Eric Pierson - spouse - contingent - divorce pending - not       W                        14,000.00
                                                                                                                                                                       collectible
                                                                                                            17. Alimony, maintenance, support, and property        X
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-815 - 32412-302Y-***** - PDF-XChange 3.0




                                                                                                            settlement to which the debtor is or may be
                                                                                                            entitled. Give particulars.

                                                                                                            18. Other liquidated debts owing debtor including      X
                                                                                                            tax refunds. Give particulars.

                                                                                                            19. Equitable or future interests, life estates, and   X
                                                                                                            rights or powers exercisable for the benefit of the
                                                                                                            debtor other than those listed in Schedule A - Real
                                                                                                            Property.

                                                                                                            20. Contingent and noncontingent interests in          X
                                                                                                            estate or a decedent, death benefit plan, life
                                                                                                            insurance policy, or trust.

                                                                                                            21. Other contingent and unliquidated claims of        X
                                                                                                            every nature, including tax refunds, counterclaims
                                                                                                            of the debtor, and rights of setoff claims. Give
                                                                                                            estimated value of each.

                                                                                                            22. Patents, copyrights, and other intellectual        X
                                                                                                            property. Give particulars.

                                                                                                            23. Licenses, franchises, and other general            X
                                                                                                            intangibles. Give particulars.

                                                                                                            24. Customer lists or other compilations               X
                                                                                                            containing personally identifiable information (as
                                                                                                            defined in 11 U.S.C. §101(41A)) provided to the
                                                                                                            debtor by individuals in connection with obtaining
                                                                                                            a product or service from the debtor primarily for
                                                                                                            personal, family, or household purposes.

                                                                                                            25. Automobiles, trucks, trailers, and other               2009 Ford Focus                                                  W                         7,200.00
                                                                                                            vehicles and accessories.
                                                                                                                                                                       2004 Chevrolet Monte Carlo                                                                 4,850.00
                                                                                                                                                                       1998 Dodge Ram - joint with Debtor's son, Dillon                 J                           500.00
                                                                                                                                                                       Blossom
                                                                                                                                                                       2009 Harley Davidson Motorcycle                                  W                        16,000.00
                                                                                                            26. Boats, motors, and accessories.                    X
                                                                                                                                    Case:14-05033-swd
                                                                                                          B6B (Official Form 6B) (12/07) -- Cont.                            Doc #:21 Filed: 08/26/14                  Page 5 of 19

                                                                                                          In re     Pierson, Patsy J.                                                                   Case No. 14-05033-swd
                                                                                                                                            Debtor                                                                        (If known)

                                                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                          (Continuation Sheet)




                                                                                                                                                                                                                                           HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                                  CURRENT VALUE OF




                                                                                                                                                                                                                                             OR COMMUNITY
                                                                                                                                                                                                                                                                  DEBTOR’S INTEREST
                                                                                                                                                               N                                                                                                     IN PROPERTY,
                                                                                                                      TYPE OF PROPERTY                         O                 DESCRIPTION AND LOCATION                                                              WITHOUT
                                                                                                                                                               N                       OF PROPERTY                                                                 DEDUCTING ANY
                                                                                                                                                               E                                                                                                   SECURED CLAIM
                                                                                                                                                                                                                                                                    OR EXEMPTION


                                                                                                            27. Aircraft and accessories.                      X
                                                                                                            28. Office equipment, furnishings, and supplies.   X
                                                                                                            29. Machinery, fixtures, equipment, and supplies       Computer (XP) and printer                                                   W                            50.00
                                                                                                            used in business.

                                                                                                            30. Inventory.                                     X
                                                                                                            31. Animals.                                           Dog and Cat                                                                 W                             1.00
                                                                                                            32. Crops - growing or harvested. Give             X
                                                                                                            particulars.
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-815 - 32412-302Y-***** - PDF-XChange 3.0




                                                                                                            33. Farming equipment and implements.              X
                                                                                                            34. Farm supplies, chemicals, and feed.            X
                                                                                                            35. Other personal property of any kind not            Cub Cadet lawnmower - joint with son, Dillon Blossom                        J                           500.00
                                                                                                            already listed. Itemize.




                                                                                                                                                                                      0                                                                           $
                                                                                                                                                                                               continuation sheets attached        Total                                95,008.11
                                                                                                                                                                                               (Include amounts from any continuation
                                                                                                                                                                                                 sheets attached. Report total also on
                                                                                                                                                                                                       Summary of Schedules.)
                                                                                                                                          Case:14-05033-swd            Doc #:21 Filed: 08/26/14                 Page 6 of 19
                                                                                                            B6C (Official Form 6C) (04/13)


                                                                                                          In re    Pierson, Patsy J.                                                               Case No. 14-05033-swd
                                                                                                                                    Debtor                                                                           (If known)

                                                                                                                                   SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                                            Debtor claims the exemptions to which debtor is entitled under:
                                                                                                            (Check one box)

                                                                                                                  11 U.S.C. § 522(b)(2)                                            Check if debtor claims a homestead exemption that exceeds
                                                                                                                                                                                   $155,675*.
                                                                                                                  11 U.S.C. § 522(b)(3)



                                                                                                                                                                                                                                     CURRENT
                                                                                                                                                                         SPECIFY LAW                        VALUE OF            VALUE OF PROPERTY
                                                                                                                      DESCRIPTION OF PROPERTY                          PROVIDING EACH                       CLAIMED             WITHOUT DEDUCTING
                                                                                                                                                                          EXEMPTION                        EXEMPTION                EXEMPTION


                                                                                                             Chase Checking 5117                             11 U.S.C. 522(d)(5)                                    856.68                      856.68

                                                                                                             Bank of America checking 1978                   11 U.S.C. 522(d)(5)                                    130.00                      130.00

                                                                                                             Bank of America savings 5570                    11 U.S.C. 522(d)(5)                                     65.00                       65.00

                                                                                                             Chemical Bank savings 1073                      11 U.S.C. 522(d)(5)                                     67.07                       67.07
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-815 - 32412-302Y-***** - PDF-XChange 3.0




                                                                                                             American Funds Roth IRA 8345                    11 U.S.C. 522(d)(12)                                 8,893.80                     8,893.80

                                                                                                             Lincoln Financial Group 403(B) plan             11 U.S.C. 522(d)(12)                                32,005.17                  40,593.56

                                                                                                             household goods                                 11 U.S.C. 522(d)(3)                                  1,000.00                     1,000.00

                                                                                                             clothing                                        11 U.S.C. 522(d)(3)                                    200.00                      200.00

                                                                                                             watches, costume jewelry                        11 U.S.C. 522(d)(4)                                    100.00                      100.00

                                                                                                             Metropolitan Life Term                          11 U.S.C. 522(d)(7)                                      1.00                         1.00

                                                                                                             Eric Pierson - spouse - contingent - divorce    11 U.S.C. 522(d)(10)(D)                             14,000.00                  14,000.00
                                                                                                             pending - not collectible

                                                                                                             1998 Dodge Ram - joint with Debtor's son,       11 U.S.C. 522(d)(2)                                    500.00                      500.00
                                                                                                             Dillon Blossom

                                                                                                             Computer (XP) and printer                       11 U.S.C. 522(d)(5)                                     50.00                       50.00

                                                                                                             Dog and Cat                                     11 U.S.C. 522(d)(5)                                      1.00                         1.00

                                                                                                             Cub Cadet lawnmower - joint with son,           11 U.S.C. 522(d)(5)                                    500.00                      500.00
                                                                                                             Dillon Blossom

                                                                                                                                                             Total exemptions claimed:                           58,369.72




                                                                                                           *Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                                                     Case:14-05033-swd                                          Doc #:21 Filed: 08/26/14                               Page 7 of 19

                                                                                                          B6D (Official Form 6D) (12/07)

                                                                                                                   Pierson, Patsy J.
                                                                                                          In re _______________________________________________,                                                                       Case No.14-05033-swd
                                                                                                                                                                                                                                                _________________________________
                                                                                                                                        Debtor                                                                                                                                       (If known)

                                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                    State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                                                          by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                          useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                                                          such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                                                     List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
                                                                                                          address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
                                                                                                          §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                                                                    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                                                          include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                                                          husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
                                                                                                          "Husband, Wife, Joint, or Community."
                                                                                                                    If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                                                          labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                                                          one of these three columns.)
                                                                                                                    Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
                                                                                                          labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
                                                                                                          Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
                                                                                                          the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


                                                                                                                    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-815 - 32412-302Y-***** - PDF-XChange 3.0




                                                                                                                                                                                                                                                                                 AMOUNT
                                                                                                                                                                    HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                                                                                        CONTINGENT
                                                                                                                                                                                               DATE CLAIM WAS INCURRED,                                                             OF
                                                                                                                                                         CODEBTOR




                                                                                                                                                                                                                                                                    DISPUTED
                                                                                                                                                                       ORCOMMUNITY




                                                                                                                     CREDITOR’S NAME,
                                                                                                                      MAILING ADDRESS                                                             NATURE OF LIEN, AND                                                             CLAIM           UNSECURED
                                                                                                                    INCLUDING ZIP CODE,                                                            DESCRIPTION AND                                                               WITHOUT           PORTION,
                                                                                                                   AND ACCOUNT NUMBER                                                             VALUE OF PROPERTY                                                             DEDUCTING           IF ANY
                                                                                                                     (See Instructions Above.)                                                      SUBJECT TO LIEN                                                              VALUE OF
                                                                                                                                                                                                                                                                               COLLATERAL


                                                                                                          ACCOUNT NO.                                                                      Incurred: 06/2013                                                                                        2,143.00
                                                                                                          Chief Pontiac Federal CU                                                         Security: 2004 Chevy Monte Carlo
                                                                                                          790 Joslyn Avenue                                                                                                                                                       6,993.00
                                                                                                          Pontiac, MI 49340-2918

                                                                                                                                                                                            VALUE $                      4,850.00
                                                                                                          ACCOUNT NO.                                                                      Incurred: 09/2013                                                                                        3,351.00
                                                                                                          Credit Union One                                                                 Lien: PMSI in vehicle < 910 days
                                                                                                          400 E. Nine Mile Road                                                            Security: 2009 Ford Focus
                                                                                                                                                                                                                                                                                 10,551.00
                                                                                                          Ferndale, MI 48220-1774

                                                                                                                                                                                            VALUE $                      7,200.00
                                                                                                          ACCOUNT NO.                                                                      Incurred: 06/2013
                                                                                                                                                                                           Lien: PMSI in vehicle < 910 days                                                                         4,913.00
                                                                                                          Harley Davidson Credit                                                           Security: 2009 Harley Davidson Motorcycle
                                                                                                          3850 Arrowhead Drive                                                                                                                                                   20,913.00
                                                                                                          Carson City, NV 89706


                                                                                                                                                                                            VALUE $                     16,000.00

                                                                                                             1
                                                                                                           _______continuation sheets attached                                                                                      Subtotal     $                               38,457.00   $     10,407.00
                                                                                                                                                                                                                            (Total of this page)
                                                                                                                                                                                                                                        Total    $                                           $
                                                                                                                                                                                                                         (Use only on last page)
                                                                                                                                                                                                                                                                     (Report also on       (If applicable, report
                                                                                                                                                                                                                                                                     Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                                           Summary of Certain
                                                                                                                                                                                                                                                                                           Liabilities and Related
                                                                                                                                                                                                                                                                                           Data.)
                                                                                                                                      Case:14-05033-swd                                           Doc #:21 Filed: 08/26/14                                   Page 8 of 19

                                                                                                          B6D (Official Form 6D) (12/07) – Cont.



                                                                                                                   Pierson, Patsy J.
                                                                                                          In re __________________________________________________,                                                                              14-05033-swd
                                                                                                                                                                                                                                     Case No. _________________________________
                                                                                                                                                     Debtor                                                                                                                                      (If known)



                                                                                                                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                                                                                                      (Continuation Sheet)




                                                                                                                                                                      HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                                                     AMOUNT




                                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                          CONTINGENT
                                                                                                                     CREDITOR’S NAME,                      CODEBTOR                              DATE CLAIM WAS INCURRED,                                                               OF




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                                                      MAILING ADDRESS                                                               NATURE OF LIEN, AND                                                               CLAIM              UNSECURED
                                                                                                                    INCLUDING ZIP CODE,                                                              DESCRIPTION AND                                                                 WITHOUT              PORTION,
                                                                                                                   AND ACCOUNT NUMBER                                                               VALUE OF PROPERTY                                                               DEDUCTING              IF ANY
                                                                                                                     (See Instructions Above.)                                                        SUBJECT TO LIEN                                                                VALUE OF
                                                                                                                                                                                                                                                                                   COLLATERAL

                                                                                                          ACCOUNT NO.

                                                                                                          Solon Township
                                                                                                          15185 Algoma Ave                                                                                                                                                           Notice Only        Notice Only
                                                                                                          Cedar Springs, MI 49319
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-815 - 32412-302Y-***** - PDF-XChange 3.0




                                                                                                                                                                                             VALUE $                             0.00
                                                                                                          ACCOUNT NO. 1F01

                                                                                                          Trott & Trott
                                                                                                          A/C US Bank Home Mortgage                                                                                                                                                  Notice Only        Notice Only
                                                                                                          31440 Northwestern Hwy - Suite 200
                                                                                                          Farmington Hills, MI 48334
                                                                                                                                                                                             VALUE $                             0.00
                                                                                                          ACCOUNT NO.                                                                        Incurred: 4/2008
                                                                                                                                                                                             Lien: First Mortgage
                                                                                                          US Bank Home Mortgage                                                              Security: 980 20 Mile Road, NE, Cedar
                                                                                                          4801 Frederica Street                                                              Springs, MI
                                                                                                                                                                                                                                                                                        74,766.00                 0.00
                                                                                                          Owensboro, KY 42304

                                                                                                                                                                                             VALUE $                      75,200.00
                                                                                                          ACCOUNT NO.




                                                                                                                                                                                             VALUE $
                                                                                                          ACCOUNT NO.




                                                                                                                                                                                             VALUE $
                                                                                                                     1 of ___continuation
                                                                                                          Sheet no. ___    1              sheets attached to                                                                        Subtotal (s)    $                                   74,766.00 $               0.00
                                                                                                          Schedule of Creditors Holding Secured Claims                                                                      (Total(s) of this page)
                                                                                                                                                                                                                                          Total(s) $                                   113,223.00 $         10,407.00
                                                                                                                                                                                                                           (Use only on last page)
                                                                                                                                                                                                                                                                                 (Report also on       (If applicable, report
                                                                                                                                                                                                                                                                                 Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                                                       Summary of Certain
                                                                                                                                                                                                                                                                                                       Liabilities and Related
                                                                                                                                                                                                                                                                                                       Data.)
                                                                                                                                     Case:14-05033-swd                  Doc #:21 Filed: 08/26/14                    Page 9 of 19
                                                                                                          B6E (Official Form 6E) (04/13)


                                                                                                                    Pierson, Patsy J.
                                                                                                             In re________________________________________________________________,
                                                                                                                                                                                                                           14-05033-swd
                                                                                                                                                                                                            Case No.______________________________
                                                                                                                                      Debtor                                                                              (if known)

                                                                                                                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                   A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                                            unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                                                            address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                                                            property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
                                                                                                            the type of priority.

                                                                                                                   The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                                                            the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                            "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).

                                                                                                                    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                                                            entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
                                                                                                            both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
                                                                                                            Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
                                                                                                            in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
                                                                                                            more than one of these three columns.)

                                                                                                                  Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
                                                                                                            Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                                                                      Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-815 - 32412-302Y-***** - PDF-XChange 3.0




                                                                                                            amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
                                                                                                            primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                                                                     Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
                                                                                                            amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
                                                                                                            with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
                                                                                                            Data.



                                                                                                                Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                                                           TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


                                                                                                                 Domestic Support Obligations

                                                                                                                Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                                                          or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
                                                                                                          11 U.S.C. § 507(a)(1).


                                                                                                                 Extensions of credit in an involuntary case

                                                                                                                Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                                                                 Wages, salaries, and commissions

                                                                                                                   Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                                                           independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                                                           cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                                                 Contributions to employee benefit plans

                                                                                                                      Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                                                              cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

                                                                                                                   *Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                                                     Case:14-05033-swd                   Doc #:21 Filed: 08/26/14                  Page 10 of 19

                                                                                                            B6E (Official Form 6E) (04/13) - Cont.

                                                                                                                        Pierson, Patsy J.
                                                                                                                In re________________________________________________________________,                               14-05033-swd
                                                                                                                                                                                                            Case No.______________________________
                                                                                                                                        Debtor                                                                            (if known)




                                                                                                                 Certain farmers and fishermen
                                                                                                               Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


                                                                                                                 Deposits by individuals
                                                                                                               Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
                                                                                                           that were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                                                                 Taxes and Certain Other Debts Owed to Governmental Units

                                                                                                               Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-815 - 32412-302Y-***** - PDF-XChange 3.0




                                                                                                                 Commitments to Maintain the Capital of an Insured Depository Institution

                                                                                                              Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
                                                                                                           Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
                                                                                                           U.S.C. § 507 (a)(9).



                                                                                                                 Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                                                Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                                                          alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
                                                                                                          alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).



                                                                                                                 * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                                                 adjustment.




                                                                                                                                                                     1
                                                                                                                                                                    ____ continuation sheets attached
                                                                                                                                     Case:14-05033-swd                                         Doc #:21 Filed: 08/26/14                                             Page 11 of 19
                                                                                                          B6E (Official Form 6E) (04/13) - Cont.


                                                                                                                    Pierson,
                                                                                                                In re        Patsy J.
                                                                                                                      __________________________________________________,                                                                                       Case No.14-05033-swd
                                                                                                                                                                                                                                                                         _________________________________
                                                                                                                                              Debtor                                                                                                                                (If known)

                                                                                                               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                                                                                                 (Continuation Sheet)                                          Sec. 507(a)(8)

                                                                                                                                                                                                                                                          Type of Priority for Claims Listed on This Sheet




                                                                                                                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                         ORCOMMUNITY




                                                                                                                                                                                                                   CONTINGENT
                                                                                                                                                                                                                                                                                                   AMOUNT

                                                                                                                                                            CODEBTOR
                                                                                                                      CREDITOR’S NAME,                                                        DATE CLAIM WAS




                                                                                                                                                                                                                                               DISPUTED
                                                                                                                      MAILING ADDRESS                                                          INCURRED AND                                                     AMOUNT            AMOUNT             NOT
                                                                                                                    INCLUDING ZIP CODE,                                                       CONSIDERATION                                                       OF            ENTITLED TO       ENTITLED
                                                                                                                   AND ACCOUNT NUMBER                                                            FOR CLAIM                                                       CLAIM           PRIORITY            TO
                                                                                                                     (See instructions above..)                                                                                                                                                  PRIORITY, IF
                                                                                                                                                                                                                                                                                                     ANY

                                                                                                          ACCOUNT NO.

                                                                                                          Internal Revenue Service
                                                                                                          Centralized Insolvency Operations                                                                                                                    Notice Only      Notice Only      Notice Only
                                                                                                          P.O. Box 7346
                                                                                                          Philadelphia, PA 19101-7346
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-815 - 32412-302Y-***** - PDF-XChange 3.0




                                                                                                          ACCOUNT NO.

                                                                                                          Michigan Department of Treasury
                                                                                                          Collections Division                                                                                                                                 Notice Only      Notice Only      Notice Only
                                                                                                          P.O. Box 30168
                                                                                                          Lansing, MI 48909


                                                                                                          ACCOUNT NO.




                                                                                                          ACCOUNT NO.




                                                                                                                     1 of ___continuation
                                                                                                                           1                                                                                    Subtotal                                   $           0.00     $        0.00    $       0.00
                                                                                                          Sheet no. ___                    sheets attached to Schedule of                              (Totals of this page)
                                                                                                          Creditors Holding Priority Claims
                                                                                                                                                                                                               Total                                       $           0.00
                                                                                                                                                                        (Use only on last page of the completed
                                                                                                                                                                        Schedule E.) Report also on the Summary
                                                                                                                                                                        of Schedules)

                                                                                                                                                                                                                Totals                                     $                    $        0.00     $      0.00
                                                                                                                                                                        (Use only on last page of the completed
                                                                                                                                                                        Schedule E. If applicable, report also on
                                                                                                                                                                        the Statistical Summary of Certain
                                                                                                                                                                        Liabilities and Related Data.)
                                                                                                                                        Case:14-05033-swd                                           Doc #:21 Filed: 08/26/14               Page 12 of 19
                                                                                                          B6F (Official Form 6F) (12/07)

                                                                                                                   Pierson, Patsy J.
                                                                                                           In re __________________________________________,                                                                                   14-05033-swd
                                                                                                                                                                                                                                   Case No. _________________________________
                                                                                                                                          Debtor                                                                                                                              (If known)

                                                                                                                SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                                           against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                           useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
                                                                                                           of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
                                                                                                           1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                                                      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                                           appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                                           community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                                                     If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                                           "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                                                                     Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                                           Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
                                                                                                           Related Data.
                                                                                                                    Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                               UNLIQUIDATED
                                                                                                                                                                            ORCOMMUNITY




                                                                                                                                                                                                                                                  CONTINGENT
                                                                                                                                                               CODEBTOR




                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                              DISPUTED
                                                                                                                      CREDITOR’S NAME,                                                                                                                                                       AMOUNT
                                                                                                                       MAILING ADDRESS                                                                  CONSIDERATION FOR CLAIM.
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                           OF
                                                                                                                     INCLUDING ZIP CODE,
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-815 - 32412-302Y-***** - PDF-XChange 3.0




                                                                                                                                                                                                                 SO STATE.                                                                    CLAIM
                                                                                                                    AND ACCOUNT NUMBER
                                                                                                                      (See instructions above.)

                                                                                                          ACCOUNT NO.         2115                                                               Incurred: to present
                                                                                                          Chase                                                                                  Consideration: Credit card debt
                                                                                                          P.O. Box 15123                                                                                                                                                                          6,879.88
                                                                                                          wilmington, DE 19850-5123



                                                                                                          ACCOUNT NO.




                                                                                                          ACCOUNT NO.




                                                                                                          ACCOUNT NO.




                                                                                                              _______continuation sheets attached                         0                                                                     Subtotal                                 $        6,879.88
                                                                                                                                                                                                                              Total                                                      $        6,879.88
                                                                                                                                                                               (Use only on last page of the completed Schedule F.)
                                                                                                                                                           (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                 Summary of Certain Liabilities and Related Data.)
                                                                                                                                      Case:14-05033-swd                 Doc #:21 Filed: 08/26/14                    Page 13 of 19
                                                                                                          B6G (Official Form 6G) (12/07)


                                                                                                                  Pierson, Patsy J.                                                                               14-05033-swd
                                                                                                          In re                                                                              Case No.
                                                                                                                                    Debtor                                                                               (if known)

                                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                                                      Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                                                            State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
                                                                                                            names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
                                                                                                            contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                                                            guardian." Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                  Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                                                                                                             DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                                                  NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
                                                                                                                     OF OTHER PARTIES TO LEASE OR CONTRACT.                                   NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                                                                  NUMBER OF ANY GOVERNMENT CONTRACT.
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-815 - 32412-302Y-***** - PDF-XChange 3.0
                                                                                                                                      Case:14-05033-swd                Doc #:21 Filed: 08/26/14                   Page 14 of 19
                                                                                                          B6H (Official Form 6H) (12/07)




                                                                                                          In re   Pierson, Patsy J.                                                         Case No.       14-05033-swd
                                                                                                                                   Debtor                                                                              (if known)


                                                                                                                                                      SCHEDULE H - CODEBTORS
                                                                                                              Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
                                                                                                          debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
                                                                                                          property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                                          Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
                                                                                                          name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
                                                                                                          commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
                                                                                                          commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's
                                                                                                          parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and
                                                                                                          Fed. Bankr. P. 1007(m).
                                                                                                              Check this box if debtor has no codebtors.



                                                                                                                        NAME AND ADDRESS OF CODEBTOR                                                   NAME AND ADDRESS OF CREDITOR


                                                                                                             Eric Pierson                                                                 US Bank Home Mortgage
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-815 - 32412-302Y-***** - PDF-XChange 3.0




                                                                                                                                                                                          4801 Frederica Street
                                                                                                                                                                                          Owensboro, KY 42304

                                                                                                             Eric Pierson                                                                 Chief Pontiac Federal CU
                                                                                                                                                                                          790 Joslyn Avenue
                                                                                                                                                                                          Pontiac, MI 49340-2918
                                                                                                                                             Case:14-05033-swd               Doc #:21 Filed: 08/26/14                       Page 15 of 19

                                                                                                           Fill in this information to identify your case:


                                                                                                           Debtor 1           Patsy J. Pierson
                                                                                                                              __________________________________________________________ _________
                                                                                                                               First Name             Middle Name             Last Name

                                                                                                           Debtor 2            __________________________________________________________________
                                                                                                           (Spouse, if filing) First Name             Middle Name             Last Name

                                                                                                                                                         Western
                                                                                                           United States Bankruptcy Court for the: ___________________________             MI
                                                                                                                                                                               District of ________

                                                                                                           Case number                            14-05033-swd
                                                                                                                               ___________________________________________                                        Check if this is:
                                                                                                            (If known)
                                                                                                                                                                                                                     An amended filing
                                                                                                                                                                                                                     A supplement showing post-petition
                                                                                                                                                                                                                     chapter 13 income as of the following date:
                                                                                                                                                                                                                     ________________
                                                                                                          Official Form                     6I                                                                       MM / DD / YYYY


                                                                                                          Schedule I: Your Income                                                                                                                              12/13

                                                                                                          Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                                                          supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
                                                                                                          If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
                                                                                                          separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                                                           Part 1:           Describe Employment


                                                                                                          1. Fill in your employment
                                                                                                              information.                                                          Debtor 1                                       Debtor 2 or non-filing spouse
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-815 - 32412-302Y-***** - PDF-XChange 3.0




                                                                                                              If you have more than one job,
                                                                                                              attach a separate page with                                       X
                                                                                                              information about additional         Employment status                 Employed                                           Employed
                                                                                                              employers.                                                             Not employed                                       Not employed
                                                                                                              Include part-time, seasonal, or
                                                                                                              self-employed work.                                             Nursing Assistant
                                                                                                                                                   Occupation                  __________________ ________________             __________________________________
                                                                                                              Occupation may Include student
                                                                                                              or homemaker, if it applies.
                                                                                                                                                                              Mary Free Bed Rehabilitation Hospital
                                                                                                                                                   Employer’s name             __________________ ________________              __________________ ________________


                                                                                                                                                   Employer’s address         _______________________________________          _______________________________________
                                                                                                                                                                                Number Street                                   Number   Street

                                                                                                                                                                              _______________________________________          _______________________________________

                                                                                                                                                                              _______________________________________          _______________________________________

                                                                                                                                                                              _______________________________________          _______________________________________
                                                                                                                                                                                City           State  ZIP Code                  City                State ZIP Code

                                                                                                                                                   How long employed there?           25 yrs
                                                                                                                                                                                     _______                                     _______

                                                                                                           Part 2:           Give Details About Monthly Income

                                                                                                              Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
                                                                                                              spouse unless you are separated.
                                                                                                              If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                                                                                                              below. If you need more space, attach a separate sheet to this form.

                                                                                                                                                                                                             For Debtor 1       For Debtor 2 or
                                                                                                                                                                                                                                non-filing spouse
                                                                                                           2. List monthly gross wages, salary, and commissions (before all payroll
                                                                                                               deductions). If not paid monthly, calculate what the monthly wage would be.            2.       1,778.00                     N.A.
                                                                                                                                                                                                            $___________              $____________

                                                                                                           3. Estimate and list monthly overtime pay.                                                 3.            0.00
                                                                                                                                                                                                           + $___________      +             N.A.
                                                                                                                                                                                                                                      $____________


                                                                                                           4. Calculate gross income. Add line 2 + line 3.                                            4.       1,778.00
                                                                                                                                                                                                            $__________                      N.A.
                                                                                                                                                                                                                                      $____________



                                                                                                          Official Form       6I                                           Schedule I: Your Income                                                         page 1
                                      Case:14-05033-swd                                 Doc #:21 Filed: 08/26/14                           Page 16 of 19
                  Patsy J. Pierson                                                                                                             14-05033-swd
Debtor 1         _______________________________________________________                                                   Case number (if known)_____________________________________
                 First Name          Middle Name                Last Name



                                                                                                                          For Debtor 1         For Debtor 2 or
                                                                                                                                               non-filing spouse
                                                                                                                             1,778.00
                                                                                                                           $___________
                                                                                                                                                         N.A.
                                                                                                                                                   $_____________
   Copy line 4 here ............................................................................................   4.

5. List all payroll deductions:

    5a. Tax, Medicare, and Social Security deductions                                                              5a.           0.00
                                                                                                                          $____________
                                                                                                                                                          N.A.
                                                                                                                                                   $_____________
    5b. Mandatory contributions for retirement plans                                                               5b.           0.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________
    5c. Voluntary contributions for retirement plans                                                               5c.           0.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________
    5d. Required repayments of retirement fund loans                                                               5d.           0.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________
    5e. Insurance                                                                                                  5e.           0.00
                                                                                                                          $____________
                                                                                                                                                          N.A.
                                                                                                                                                   $_____________
    5f. Domestic support obligations                                                                               5f.
                                                                                                                                 0.00
                                                                                                                          $____________
                                                                                                                                                          N.A.
                                                                                                                                                   $_____________
                                                                                                                                 0.00
                                                                                                                          $____________
                                                                                                                                                          N.A.
                                                                                                                                                   $_____________
    5g. Union dues                                                                                                 5g.
    5h. Other deductions. Specify: __________________________________                                              5h.            0.00
                                                                                                                         + $____________       +          N.A.
                                                                                                                                                   $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                     6.             0.00
                                                                                                                          $____________
                                                                                                                                                         N.A.
                                                                                                                                                   $_____________

                                                                                                                             1,778.00                    N.A.
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.     $____________            $_____________


 8. List all other income regularly received:

    8a. Net income from rental property and from operating a business,
        profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                      0.00
                                                                                                                          $____________
                                                                                                                                                         N.A.
                                                                                                                                                   $_____________
           monthly net income.                                                                                     8a.
     8b. Interest and dividends                                                                                    8b.            0.00                   N.A.
                                                                                                                                                   $_____________
                                                                                                                          $____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                  0.00                   N.A.
                                                                                                                          $____________            $_____________
           settlement, and property settlement.                                                                    8c.
    8d. Unemployment compensation                                                                                  8d.           0.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________
     8e. Social Security                                                                                           8e.           0.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
                                                                                                                                  0.00
                                                                                                                          $____________
                                                                                                                                                         N.A.
                                                                                                                                                   $_____________
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.

     8g. Pension or retirement income                                                                              8g.           0.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________
                                        Childrens' contribution (114.00); Roommate
     8h. Other monthly income. Specify: _______________________________              835.00
                                                                                     (721.)0.00
                                                                          8h. + $____________                                                           N.A.
                                                                                                                                               + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.          835.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                             2,613.00
                                                                                                                          $___________     +             N.A. = $_____________
                                                                                                                                                   $_____________    2,613.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: ______________________________________ ___________________________ ______________                                                                                  0.00
                                                                                                                                                                 11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                            2,613.00
                                                                                                                                                                       $_____________
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                 12.
                                                                                                                                                                       Combined
                                                                                                                                                                       monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     X     No.
           Yes. Explain:


Official Form       6I                                                               Schedule I: Your Income                                                               page 2
                                                                                                                                             Case:14-05033-swd                  Doc #:21 Filed: 08/26/14                    Page 17 of 19

                                                                                                            Fill in this information to identify your case:

                                                                                                            Debtor 1           Patsy J. Pierson
                                                                                                                              __________________________________________________________________
                                                                                                                               First Name               Middle Name             Last Name                       Check if this is:
                                                                                                            Debtor 2           ________________________________________________________________
                                                                                                            (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                                                                                                                                    An amended filing
                                                                                                                                                                                                                    A supplement showing post-petition chapter 13
                                                                                                                                                          Western
                                                                                                            United States Bankruptcy Court for the: ___________________________             MI
                                                                                                                                                                                District of ________
                                                                                                                                                                                                                    expenses as of the following date:
                                                                                                                                                  14-05033-swd                                                      ________________
                                                                                                            Case number        ___________________________________________                                          MM / DD / YYYY
                                                                                                            (If known)
                                                                                                                                                                                                                    A separate filing for Debtor 2 because Debtor 2
                                                                                                                                                                                                                    maintains a separate household
                                                                                                          Official Form                      6J
                                                                                                          Schedule J: Your Expenses                                                                                                                            12/13

                                                                                                          Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                                                          information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
                                                                                                          (if known). Answer every question.

                                                                                                           Part 1:            Describe Your Household

                                                                                                          1. Is this a joint case?
                                                                                                             X    No. Go to line 2.
                                                                                                                  Yes. Does Debtor 2 live in a separate household?

                                                                                                                               No
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-815 - 32412-302Y-***** - PDF-XChange 3.0




                                                                                                                               Yes. Debtor 2 must file a separate Schedule J.

                                                                                                          2. Do you have dependents?                      No
                                                                                                                                                      X                                      Dependent’s relationship to              Dependent’s   Does dependent live
                                                                                                             Do not list Debtor 1 and                     Yes. Fill out this information for Debtor 1 or Debtor 2                     age           with you?
                                                                                                             Debtor 2.                                    each dependent ..........................
                                                                                                                                                                                                                                                         No
                                                                                                             Do not state the dependents’                                                    __________________ _______               ________
                                                                                                             names.                                                                                                                                      Yes

                                                                                                                                                                                             __________________ _______               ________           No
                                                                                                                                                                                                                                                         Yes

                                                                                                                                                                                             __________________ _______               ________           No
                                                                                                                                                                                                                                                         Yes

                                                                                                                                                                                             __________________ _______               ________           No
                                                                                                                                                                                                                                                         Yes

                                                                                                                                                                                             __________________ _______               ________           No
                                                                                                                                                                                                                                                         Yes

                                                                                                          3. Do your expenses include                 X   No
                                                                                                             expenses of people other than
                                                                                                             yourself and your dependents?                Yes

                                                                                                          Part 2:         Estimate Your Ongoing Monthly Expenses

                                                                                                          Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
                                                                                                          expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
                                                                                                          applicable date.
                                                                                                          Include expenses paid for with non-cash government assistance if you know the value
                                                                                                          of such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                         Your expenses

                                                                                                           4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                              0.00
                                                                                                               any rent for the ground or lot.                                                                                  4.
                                                                                                                                                                                                                                        $_____________________

                                                                                                               If not included in line 4:
                                                                                                               4a.    Real estate taxes                                                                                         4a.
                                                                                                                                                                                                                                                         0.00
                                                                                                                                                                                                                                        $_____________________
                                                                                                               4b.    Property, homeowner’s, or renter’s insurance                                                              4b.                      0.00
                                                                                                                                                                                                                                        $_____________________
                                                                                                               4c.    Home maintenance, repair, and upkeep expenses                                                             4c.                      0.00
                                                                                                                                                                                                                                        $_____________________
                                                                                                               4d.    Homeowner’s association or condominium dues                                                               4d.                      0.00
                                                                                                                                                                                                                                        $_____________________

                                                                                                          Official Form        6J                                       Schedule J: Your Expenses                                                          page 1
                                 Case:14-05033-swd                   Doc #:21 Filed: 08/26/14             Page 18 of 19


 Debtor 1         Patsy J. Pierson
                 _______________________________________________________                                           14-05033-swd
                                                                                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                                     0.00
                                                                                                                     $_________________ ____
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:
                                                                                                                                      345.00
      6a.   Electricity, heat, natural gas                                                                    6a.    $_________________ ____
                                                                                                                                         0.00
      6b.   Water, sewer, garbage collection                                                                  6b.    $_________________ ____
                                                                                                                                      369.00
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_________________ ____
                                  trash pickup                                                                                          10.00
      6d.   Other. Specify: _______________________________________________                                   6d.    $_________________ ____
                                                                                                                                      300.00
 7. Food and housekeeping supplies                                                                            7.     $_________________ ____
                                                                                                                                         0.00
 8. Childcare and children’s education costs                                                                  8.     $_________________ ____
                                                                                                                                        11.00
 9. Clothing, laundry, and dry cleaning                                                                       9.     $_________________ ____
                                                                                                                                         0.00
10.   Personal care products and services                                                                     10.    $_________________ ____
                                                                                                                                         0.00
11.   Medical and dental expenses                                                                             11.    $_________________ ____

12. Transportation. Include gas, maintenance, bus or train fare.                                                                      200.00
                                                                                                                     $_________________ ____
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.                    0.00
                                                                                                                     $_________________ ____
14.   Charitable contributions and religious donations                                                        14.                    0.00
                                                                                                                     $_________________ ____
                                                                                                                                                    1
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.
                                                                                                                                    22.00
                                                                                                                     $_________________ ____
      15b. Health insurance                                                                                   15b.                   0.00
                                                                                                                     $_________________ ____
      15c. Vehicle insurance                                                                                  15c.                 125.00
                                                                                                                     $_________________ ____
                                    Children's life insurance
      15d. Other insurance. Specify:_______________________________________                                   15d.                   7.00
                                                                                                                     $_________________ ____

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                     0.00
                                                                                                                     $_________________ ____
      Specify: ______________________________________ __________________                                      16.

17.   Installment or lease payments:
                                                                                                                                         0.00
      17a. Car payments for Vehicle 1                                                                         17a.   $_________________ ____
                                                                                                                                         0.00
      17b. Car payments for Vehicle 2                                                                         17b.   $_________________ ____
                                                                                                                                         0.00
      17c. Other. Specify:_________________________________ ______________                                    17c.   $_________________ ____
                                                                                                                                         0.00
      17d. Other. Specify:_________________________________ ______________                                    17d.   $_________________ ____

18.   Your payments of alimony, maintenance, and support that you did not report as deducted                                             0.00
      from your pay on line 5, Schedule I, Your Income (Official Form 6I).                                     18.   $_____________________


19.   Other payments you make to support others who do not live with you.
                                                                                                               19.                   0.00
                                                                                                                     $_____________________
      Specify:_______________________________________________________

20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.
                                                                                                                                         0.00
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.
                                                                                                                                     0.00
                                                                                                                     $_____________________



 Official Form     6J                                          Schedule J: Your Expenses                                                   page 2
                                   Case:14-05033-swd               Doc #:21 Filed: 08/26/14                  Page 19 of 19


 Debtor 1         Patsy J. Pierson
                 _______________________________________________________                                              14-05033-swd
                                                                                              Case number (if known)_____________________________________
                 First Name       Middle Name    Last Name




                              pet food                                                                                                     20.00
21.    Other. Specify: ________________________________ _________________                                        21.   +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.                                                                               1,409.00
                                                                                                                        $_____________________
       The result is your monthly expenses.                                                                      22.




23. Calculate your monthly net income.
                                                                                                                                       2,613.00
                                                                                                                         $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.   Copy your monthly expenses from line 22 above.                                                     23b.                 1,409.00
                                                                                                                       – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.                                                                  1,204.00
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      X   No.
          Yes.     Explain here:




 Official Form     6J                                        Schedule J: Your Expenses                                                        page 3
